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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA


 JEFFREY SNYDER, D.O.,                           )
 an individual,                                  )
                                                 )
                         Plaintiff,              )
                                                 )            Case No. CIV-16-384-F
 V.                                              )
                                                 )
 BOARD OF REGENTS FOR THE                        )
 OKLAHOMA AGRICULTURAL &                         )
 MECHANICAL COLLEGES, ex rel.,                   )            JURY TRIAL DEMANDED
 OKLAHOMA STATE UNIVERSITY                       )
 CENTER FOR HEALTH SCIENCES, et                  )
 al.                                             )
                                                 )
                         Defendants.             )

            DEFENDANT BOARD OF REGENTS FOR THE OKLAHOMA
             AGRICULTURAL AND MECHANICAL COLLEGES, ex rel.,
        OKLAHOMA STATE UNIVERSITY CENTER FOR HEALTH SCIENCES'
              RESPONSES TO PLAINTIFF'S OPENING DISCOVERY

        COMES NOW Defendant, Board of Regents for the Oklahoma Agricultural and

Mechanical Colleges, ex rel., Oklahoma State University Center for Health Sciences

("Defendant"), and submits its answers and responses to Plaintiffs Opening Discovery Requests.

                                      GENERAL OBJECTIONS

        1.      Defendant objects to Plaintiffs discovery requests to the extent they are not:

relevant to the subject matter involved in the pending action, related to the claim(s) or defense(s)

of either party, or calculated to lead to the discovery of admissible evidence.

        2.      Defendant objects to the disclosure of any information that was prepared in

anticipation of or for litigation by or for it or any of its representatives or that are otherwise beyond

the permissible scope of discovery.


                                                                                                   EXHIBIT
                                                                                                            5
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                                   REQUESTS FOR ADMISSION

          REQUESTED ADMISSION NO. 1: Admit that the Plaintiff was an employee of the
 Defendant.
          RESPONSE TO REQUESTED ADMISSION NO.1: Defendant denies Plaintiffs
 Requested Admission No. 1.
          REQUESTED ADMISSION NO. 2: Admit that the Plaintiff was a student of the
Defendant.
         RESPONSE TO REQUESTED ADMISSION NO. 2:                            Defendant denies
Plaintiffs Requested Admission No. 2, as Plaintiff was not a student of Defendant, but
instead, was a resident physician participating in Defendant's residency program, which
serves as a clinical education program for graduate physicians who have completed their first
year of postgraduate training.
         REQUESTED ADMISSION NO. 3: Admit that the Defendant terminated Plaintiff
from employment.
         RESPONSE TO REQUESTED ADMISSION NO. 3:                            Defendant denies
Plaintiffs Requested Admission No. 3.
         REQUESTED ADMISSION NO. 4: Admit that the Defendant terminated Plaintiff
from its medical residency program.
         RESPONSE TO REQUESTED ADMISSION NO. 4:                           Defendant denies
Plaintiffs Requested Admission No. 4, as Plaintiff was not terminated from Defendant's
residency program, but instead, was dismissed from the program due to Plaintiffs
abandonment of his position.
         REQUESTED ADMISSION             NO.       5: Admit that, prior to the Plaintiff's
termination, from the residency program, he had made a complaint of gender discrimination.
         RESPONSE TO REQUESTED ADMISSION NO. 5:                        Defendant     denies
Plaintiff was terminated from the residency program; however, Defendant admits Plaintiff
made a complaint of gender discrimination prior to his dismissal from the residency program
for abandonment of his position.
         REQUESTED ADMISSION NO. 6: Admit that, prior to the Plaintiff's termination,
from the residency program, he had made a complaint of disability discrimination.



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 employment, date of birth and gender) the person(s) who made the final decision to terminate
 the Plaintifffrom the residency program.
          RESPONSE TO INTERROGATORY NO. 2: Defendant objects to Plaintiff's
 Interrogatory No. 2 as being overly broad, and unduly burdensome. Additionally, Defendant
 objects to the Interrogatory as being argumentative in that it assumes Plaintiff was terminated
from the Defendant's residency program, which Defendant denies. Pursuant to the definition
included with Plaintiff's Interrogatories, "termination" references a separation of employment
and thereby implies an employer/employee relationship. Such a relationship never existed
between Defendant and Plaintiff. Notwithstanding these objections, Defendant responds as
follows: The individual(s) who made the final decision to dismiss the Plaintiff from the residency
program following his abandonment was/were:
         Dr. Lora Cotton
         Program Director
         Vice Chair and Professor of Family Medicine, Statewide Director of Family Medicine
         Residency Program, Director of Medical Education for OSU COM Residency Program
         of Family Medicine, OMM and Psychiatry
         OSU HealthCare Center
         2345 Southwest Blvd
         Tulsa, OK 74107
         Office: 918-582-1980
         (918) 606-8103
         Dates of employment: 11-1-2006 to current
         DOB: 4-25-1968

         INTERROGATORY NO. 3: Identify (defined as full name, last known home
address, last known home or cell phone number, work address, year of birth, dates of
employment, date of birth and gender) the person(s) who participated (as defined above) in the
decision to terminate the Plaintiff and describe for each their level ofparticipation (e.g. whether
the person reported a complaint about the Plaintiff, whether the person made the final termination
decision, whether the person reviewed and approved such decision, etc.).
         RESPONSE TO INTERROGATORY NO. 3: Defendant objects to Plaintiff's
Interrogatory No. 3 as being overly broad, and unduly burdensome. Additionally, Defendant
objects to the Interrogatory as being argumentative in that it assumes Plaintiff was terminated
from the Defendant's residency program, which Defendant denies. Pursuant to the definition
included with Plaintiff's Interrogatories, "termination" references a separation of employment


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and thereby implies an employer/employee relationship. Such a relationship never existed
between Defendant and Plaintiff. Notwithstanding these objections, Defendant responds as
follows: The individual(s) who participated in the decision to dismiss the Plaintiff from the
residency program following his abandonment was/were:
        Dr. Lora Cotton
        Program Director
        Vice Chair and Professor of Family Medicine, Statewide Director of Family Medicine
        Residency Program, Director of Medical Education for OSU COM Residency Program
        of Family Medicine, OMM and Psychiatry
        OSU HealthCare Center
        2345 Southwest Blvd
        Tulsa, OK 74107
        Office: 918-582-1980
        (918) 606-8103
        Dates of employment: 11-1-2006 to current
        DOB: 4-25-1968
        Dr. Cotton participated in a group discussion addressing Plaintiff's failure to
        communicate his intentions in regard to returning to training and whether Plaintiff had
        abandoned his position. As noted above, Dr. Cotton made the final decision to dismiss
        Plaintiff from the program.

       Dr. Jenny Alexopulos
       Director of Medical Education at OSU Medical Center;
       Medical Director of OSU Physicians;
       Professor of Family Medicine
       (Director of Clinical Learning Environmental Review)
       OSUMC
       744 w. 9th St.
       Tulsa, OK 74127
       Office: 918-599-5922
       (918) 810-6251
       Dates of employment: 1-1-1995 to current
       DOB: 10-01-1963
       Dr. Alexopulos participated in a group discussion addressing Plaintiffs failure to
       communicate his intentions in regard to returning to training and whether Plaintiff had
       abandoned his position.

       Dr. Gary Slick
       Head ofOPTI
       Director of Medical Education THC Residencies, Medical Director OMECO, Professor
       of Medicine
       OSU Physician's Office Building Suite 500
       802 S. Jackson

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Tulsa, OK
Office: 918-561-1290
(918) 237-6555
Dates of employment: 10-31-2005 to current
DOB: 4-13-1941
Dr. Slick was notified of the determinations made during the group discussion
addressing Plaintiffs failure to communicate his intentions in regard to returning to
training and whether Plaintiff had abandoned his position.

Dr. Christopher Thurman
Chair, Department of Family Medicine
Associate Professor of Family Medicine
OSU HealthCare Center
2345 Southwest Blvd
Tulsa, OK 74107
Office: 918-582-1980
(918) 645-3509
Dates of employment: 7-01-2003 to current
DOB: 7-31-1973
Dr. Thurman was notified of the determinations made during the group discussion
addressing Plaintiffs failure to communicate his intentions in regard to returning to
training and whether Plaintiff had abandoned his position.

Brenda Davidson
Associate Designated Institutional Officer
OSUMC
744 w. 9th St.
Tulsa, OK 74127
918-599-5922
Dates of employment: 7-31-2015 to current
DOB: 11-10-1961
Ms. Davidson participated in a group discussion addressing Plaintiffs failure to
communicate his intentions in regard to returning to training and whether Plaintiff had
abandoned his position.

Sunny Benjamin
Former Chief Human Resources Officer for OSUMC
3110 E 71 st Street
Tulsa, OK 74136
Ms. Benjamin participated in a group discussion addressing Plaintiffs failure to
communicate his intentions in regard to returning to training and whether Plaintiff had
abandoned his position.

Debbie Nottingham
OSU Medical Center HR
Senior Human Resources Representative OSUMC

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          744 W. 9th St.
          Tulsa, OK 74127
          Ms. Nottingham participated in a group discussion addressing Plaintiffs failure to
          communicate his intentions in regard to returning to training and whether Plaintiff had
          abandoned his position.

          INTERROGATORY NO. 4: Identify (defined as full name, last known home
address, last known home or cell phone number, work address, year of birth, dates of
employment, date of birth and gender) all residency who were part of the same residency program
as the Plaintiff.
          RESPONSE TO INTERROGATORY NO. 4: Defendant objects to Plaintiffs
Interrogatory No. 4 as being overly broad, and unduly burdensome. Notwithstanding these
objections, Defendant responds as follows:

           Residents in the OSU-CHS and OMECO-THC Family Medicine Residencies

                                    Academic Year 2013-2014

Nate: There are two accredited residencies in the Oklahoma State University Department of
Famity Medicine. The residents in the two programs train side by side in the clinic and in the
hospital. They also share a call schedule. OGME II and OGME III residents from both programs ·
supervise OGME I residents from both programs in the 24 hour hospital coverage service.

OGME III (Senior residents in last year of training. They have a state medical license.)

Brewer, Elizabeth
      Last known phone number: 918-521-3689
      Role: Resident in same program as Plaintiff. She saw patients in the same outpatient clinic
      as the Plaintiff. When assigned, she provided backup supervision of Plaintiff when he was
      assigned to the Family Medicine hospital service.

Carey, Steffen
       Last known phone number: 405-627-1673
       Role: Chief resident of Plaintiffs residency program. Resident in same program as
       Plaintiff. He saw patients in the same outpatient clinic as the Plaintiff. When assigned, he
       provided backup supervision of Plaintiff when he was assigned to the Family Medicine
       hospital service.

Fowler, Matthew
       Last known phone number: 918-606-3904




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Defendant's residency program, Plaintiff failed to mitigate his damages by failing to secure
acceptance into another training program.




                                                   tephen R. Stephens
                                                 Michael Scott Fern
                                                 Clinton W. Pratt
                                                 Board of Regents for the Oklahoma
                                                 Agricultural and Mechanical Colleges
                                                 5th Floor, Student Union Bldg.
                                                 Oklahoma State University
                                                 Stillwater, OK 74078-7044
                                                 steve.stephens@okstate.edu
                                                 ATTORNEY FOR DEFENDANT
                                                 BOARD OF REGENTS FOR THE
                                                 OKLAHOMA AGRICULTURAL &
                                                 MECHANICAL COLLEGES, EX REL.,
                                                 OKLAHOMA STATE UNIVERSITY
                                                 CENTER FOR HEALTH SCIENCES




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                                   CERTIFICATE OF SERVICE
        I hereby certify that on July 31, 2017, I transmitted a copy of the foregoing document via
electronic mail and regular first-class mail to:


         Mark E. Hammons                                M. Daniel Weitman
         Amber L. Hurst                                 Lauren J. Ray
         Hammons Gowens Hurst & Associates              Attorney General's Office
         325 Dean A. McGee Ave.                         313 NE 21st Street
         Oklahoma City, OK 73102                        Oklahoma City, OK 73105
         ATTORNEYS FOR PLAINTIFF                        ATTORNEYS FOR OKLAHOMA
                                                        STATE UNIVERSITY MEDICAL
                                                        AUTHORITY
        W. Kirk Turner                                  James K. Secrest
        Samanthia S. Marshall                           Edward J. Main
        Rachel B. Crawford                              Secrest Hill Butler & Secrest
        Jacob S. Crawford                               7134 S. Yale Ave., Ste. 900
        Newton O'Connor Turner & Ketchum                Tulsa, OK 74136
        15 West Sixth Street, Ste. 2700                 ATTORNEYS FOR LESLIE BARNES,
        Tulsa, OK 74119                                 Ph.D.
        ATTORNEYS FOR COMMUNITY
        CARE, JESSICA HEAVIN, STEVE
        STEWART
        Michael F. Lauderdale                           Adam Childers
        Nathan L. Whatley                               Allen Hutson
        Philip R. Bruce                                 Crowe & Dunlevy
        McAfee & Taft                                   324 N. Robinson Ave., Suite 100
        10th Floor, 211 North Robinson                  Oklahoma City, OK 73102-8273
                                    ATTORNEYS FOR DEFENDANTS
        Oklahoma City, Oklahoma 73102
        ATTORNEYS FOR DEFENDANTS    LORA COTTON, D.O., AND JENNY
        OKLAHOMA STATE UNIVERSITY ALEXOPULOS, D.O.
        MEDICAL CENTER, DEBORAH
        NOTTINGHAM, SUNNY BENJAMIN,
        MERCY    HEALTH OKLAHOMA
        COMMUNITIES,   INC., MERCY
        HEALTH,    OKLAHOMA   STATE
        UNIVERSITY MEDICAL TRUST
        AND   OSUMC    PROFESSIONAL
        SERVICES, LLC
                                                                     Clinton W. Pratt




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                                         VERIFICATION

       I, LORA COTTON, being first duly sworn, upon oath state that I have read the foregoing

Responses to Plaintiff's Interrogatories, that I am familiar with the matters set forth therein, and

that same are true and correct to the best of my lmowledge, information and belief.




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STATE OF OKALAHOMA )                                                            i,"l>.~\
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Subscribed and sworn to me this _3l day of                , 2017, by Lora Cotton. ~,,,,,~1'KLAH?,,,,,,~
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My Commission Expires:      12 I/I] I/ 2011
